[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION
The motion for a deficiency judgment was filed by the plaintiff, Connecticut National Bank against the defendants, Old Saybrook Industrial Center, Inc., Frederick A. Radcliffe, William C. Woods, Allen E. Hull, William P. Veillette, Robert L. Doane, Jr. and Peter J. Pieretti. The individual defendants are guarantors of the mortgage debt.
After a full evidentiary hearing held to establish a valuation and for a deficiency judgment, the court finds by a preponderance of the credible, relevant and admissible evidence the facts as follows.
On July 2, 1991, this court (O'Connell, J.) CT Page 3011 entered a judgment of strict foreclosure of a mortgage and set August 29, 1991 as the law day for the owner of the equity of redemption, the defendant, Old Saybrook Industrial Center, Inc.
At the time of the entry of said judgment, the debt owed the plaintiff was found to be $1,266,952.22 plus attorneys' fees of $5,500.00 and costs taxes at $5,950.00.
The defendant owner, all guarantors and the holders of subsequent encumbrances have also failed to redeem on their assigned law days. Accordingly, title to the subject premises vested in the plaintiff on September 4, 1991.
The instant motion for a deficiency judgment was filed on September 23, 1991, which is within 30 days after the time limited for redemption had expired, thereby conforming to the mandates of General Statute 49-14 (a).
The court heard the evidence of three appraisers, all qualifying as experts.
Jeffrey R. Dugas testified for the plaintiff and opined that the value of the mortgaged premises was $775,000.00.
Gerry Adam and F. Jerome Silverstein testified for the defendants, the former valued the subject property at $1,800,000, the latter valued same at $1,725,000.
All three appraisers employed the market data approach which utilizes as its premise a comparison of the subject property with other properties of a similar design, utility, use and location, that have been sold in the recent past. Adjustments are then made to the sales of the comparable properties in order to arrive at the fair market value of the subject property at the date of the vesting of title in the plaintiff.
The mortgage foreclosed, involving the subject property, was in the face amount of $1,150,000.00.
In evaluating real property, the trial court is charged with the duty of making an independent valuation of the property involved. E  F Realty Co. v. Commissioner of Transportation, 173 Conn. 247, 253, 377 A.2d 302 (1977). The trier is not limited to arbitrating the differing opinions of witnesses but is to make a determination in light of all of the facts and circumstances. Pandolphe's Auto Parts, CT Page 3012 Inc. v. Manchester, 181 Conn. 217, 220, 435 A.2d 24 (1980); Birnbaum v. Ives, 163 Conn. 12, 21, 301 A.2d 262 (1972). The trier may accept or reject the testimony of an expert, offered by one party or the other, in whole or in part. Smith v. Smith, 183 Conn. 121, 123, 438 A.2d 842 (1981); Richard v. A. Waldman  Sons, Inc., 155 Conn. 343, 348,232 A.2d 307 (1967); see also Pandolphe's Auto Parts, Inc. v. Manchester, supra, 221. Ultimately, the determination of value of real estate is a matter of opinion, which eventually depends upon the considered judgment of the trial judge who takes into account the different opinions expressed by the various witnesses. Moss v. New Haven Redevelopment Agency, 146 Conn. 421, 425, 151 A.2d 693 (1959). See also, Filipetti v. Filipetti, 2 Conn. App. 456, 459 (1984).
Guided by the principles of law enunciated in the foregoing cases and applying them to the facts and circumstances in this case, the court finds the value of the real property, subject to the foreclosure, to be in the amount of $1,425,000.
The judgment debt at the date of vesting was $1,286,702.09.
The value of the property exceeds the total of the judgment debt. The court expressly finds that there is no deficiency.
Accordingly, the plaintiff's motion for deficiency judgment is denied.
SPALLONE STATE TRIAL REFEREE